                  Case 4:10-cr-00159-LGW-CLR Document 818 Filed 05/26/15 Page 1 of 1

AO247(l0ill)   Crrd$Resarding
                            Motionfor Senteoce       Pursuadto l8 U.S C $ 3582(cX2)
                                             Redu€tion                                                         Page1 of2 (Pag€2 Not for PublicDrsclosurei


                                                                                                                       U.S.DISTRICICOURT
                                                       UNITED STATESDISTRICTCOURT                                         AUl]IISTA
                                                                                                                                 DIV.
                                                                  for the
                                                            SouthemDistrict of Georgia
                                                                                                                      201$
                                                                                                                        lflY26 ?t Z:20
                                                               Savannah Division
               United Statesof America
                          v.
                  MorrisAlvin Cweh,
          aka"Kevin Freeman",aka"Kevin Parker"                                 CaseNo:4:10CR00159-l
     aka"SammyGrecoGweh",aka"AnthonyMartin,h."
                                                                               USMNo: 57563-112
Dateof OriginalJudgment:                          March 8, 201I                RichardM. DardenandDennisA. O'Brien
DateofPreviousAmendedJudgment:                                                 Defendant'sAttomey
(UseDate oJLast AmendedJudglenL d any)


                                     Order RegerdingMotion for SentenceReductionPursuantto lE U.S.C.$ 3582(cX2)


       Uponmotionof Sthe defendant!the Directorof the Bureauof Prisons!the courtunder18U.S.C.
$ 35S2(c)(2)for a reductionin thetermof imprisonment  imposedbasedon a guidelinesentencing   rangethat has
subsequently beenloweredandmaderetroactiveby theUnited      States Sentencing Commission  pursuant to 28 U.S.C.
$ 994(u),andhavingconsidered    suchmotion,andtakinginto accountthe   policy statement
                                                                                     set forth at USSG  $ 18L10 and
the sentencingfactorssetforth in 18 U.S.C.$ 3553(a),to the extentthatthey areapplicable,
lT lS ORDERID thatthemolionis:
 ! nfNnn. @ Cn*tfEO -d the defendant's                                        bsrcflected
                                                                of imprisonment
                                        previouslyimposedsentence                      inthetastiudsnent
              issued)
                    of 144 monthsis reducedto


                                             (CompleteParts I and II of Page 2 when motion ir Srqnted)




Exceptasothenviseprovidedabove,all provisionsofthe judgmentdated
IT IS SO ORDERED.

OrderDate:                slao lrs

                                                                                DudleyH. Bowen,Jr.
EffectiveDate:            November1.2015                                        UnitedStatesDistrictJudge
                       (if dilferentfrom order date)                                           P,irt d no^" ord'irlii-
                                                                                                    "
